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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________________
                                                )
In re:                                          )               Chapter 11
                                                )
21st CENTURY ONCOLOGY HOLDINGS, INC., et al. )                  Lead Case No. 17-22770
                                                )               (RDD)
                                                )
                  Debtors.                      )               (Jointly Administered)
________________________________________________)
                                                )
UNITED STATES OF AMERICA EX REL. DAVID DI )
PIETRO,                                         )
                                                )
                  Plaintiff,                    )               Adversary Proceeding No.
                                                )               17-08284-rdd
       v.                                       )
                                                )
21st CENTURY ONCOLOGY HOLDINGS, INC.,           )
  st                                st
21 CENTURY ONCOLOGY, INC., and 21 CENTURY )
ONCOLOGY, LLC,                                  )
                                                )
                  Defendants.                   )
________________________________________________)

                 ACCEPTANCE AND WAIVER OF SERVICE OF PROCESS

         Plaintiff, by and through undersigned counsel, and Defendants, 21st Century Oncology

Holdings, Inc., 21st Century Oncology, Inc., and 21st Century Oncology, LLC, by and through

undersigned counsel, stipulate to waive the requirements of formal service of process and
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Defendants acknowledge receipt of a copy of the Complaint to Determine Dischargeability of Debt

Pursuant to 11 U.S.C. §§ 523(a)(2) and 1141 (d)(6) [ECF No. 1] (the “Complaint”) and Summons

and Notice of Pretrial Conference in an Adversary Proceeding [ECF No. 2] (the “Summons”) in

this action, and in doing so specifically waive formal service of process pursuant to Fed. R. Bankr.

P. 7004, and agree service is effective as of September 29, 2017.

                                      Respectfully submitted,

                                      DELBELLO DONNELLAN WEINGARTEN
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                                      By: /s/ Steven R. Schoenfeld
                                             Steven R. Schoenfeld, Esq.

                                      -and-

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                                      By: /s/ Michael P. Esser
                                             Michael P. Esser
